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LoanNumber    DateApproved    ProcessingMethod    BorrowerName                             BorrowerAddress               BorrowerCity          BorrowerState   BorrowerZip   LoanStatusDate    InitialApprovalAmount
   8024327705        5/1/2020 PPP                 ACOAXET CLUB INC                         152 HOWLAND RD                WESTPORT              MA              02790                 4/13/2021 $             192,096.00
   8723887000        4/8/2020 PPP                 ALTA VISTA COUNTRY CLUB LP               777 ALTA VISTA ST             PLNTIA                CA                      92870         4/17/2021 $             457,500.00
   2845037102       4/11/2020 PPP                 ARROWHEAD COUNTRY CLUB                   50 OCALA DR                   MONTGOMERY            AL                      36117         8/19/2021 $             206,500.00
   9214977304        5/1/2020 PPP                 ARROWHEAD LAKE ASSN                      870 N STATE HIGHWAY 173       LAKE ARROWHEAD        CA                      92352         2/20/2021 $             323,192.00
   4837417108       4/13/2020 PPP                 AUDOBON COUNTRY CLUB INC                 3265 ROBIN RD                 LOUISVILLE            KY                      40213        12/24/2020 $             519,400.00
   5016997202       4/27/2020 PPP                 AUSTIN CLUB                              110 E 9TH ST                  AUSTIN                TX                      78701         5/29/2021 $             290,100.00
   1610427309       4/28/2020 PPP                 BERKELEY HILLS COUNTRY CLUB INC          2300 POND RD                  DULUTH                GA                      30096         6/12/2021 $             327,800.00
   1729007407        5/4/2020 PPP                 BRIARWOOD COUNTRY CLUB INC               20800 N 135TH AVE             SUN CITY WEST         AZ                      85375          4/9/2021 $             431,800.00
   3672487310       4/29/2020 PPP                 CARTERSVILLE COUNTRY CLUB INC            1310 JOE FRANK HARRIS PKWY SE CARTERSVILLE          GA                      30120         1/21/2021 $             279,700.00
   8607757206       4/28/2020 PPP                 CHI OMEGA FRATERNITY                     3395 PLAYERS CLUB PKWY        MEMPHIS               TN                      38125          8/5/2021 $             427,500.00
   7920367100       4/14/2020 PPP                 COATESVILLE COUNTRY CLUB                 143 RESERVOIR RD              COATESVILLE           PA                      19320         12/9/2020 $             189,700.00
   5068957301       4/30/2020 PPP                 COLUMBIA COUNTRY CLUB                    135 COLUMBIA CLUB DR          BLYTHEWOOD            SC                      29016         8/13/2021 $             186,000.00
   4125097807       5/27/2020 PPP                 COLUMBIA YACHT CLUB                      111 LAKE DR N                 CHICAGO               IL                      60601         1/22/2021 $             374,600.00
   4862007105       4/13/2020 PPP                 COUNTRY CLUB OF PETERSBURG INC           1250 FLANK RD                 PETERSBURG            VA                      23805         1/20/2021 $             215,300.00
   9891187104       4/15/2020 PPP                 CROWN COLONY COUNTRY CLUB INC            900 CROWN COLONY DR           LUFKIN                TX                      75901          2/4/2021 $             292,100.00
   9132697310        5/1/2020 PPP                 DIAMANTE MEMBERS CLUB INC                2000 COUNTRY CLUB DR          HOT SPRINGS VILLAGE   AR                      71909         8/20/2021 $             291,900.00
   9382427008        4/9/2020 PPP                 DOE VALLEY ASSN INC                      147 DOE VALLEY PKWY W         BRANDENBURG           KY                      40108        12/16/2020 $             259,713.05
   1995628208       7/31/2020 PPP                 DYES WALK MEMBERS INC                    2080 SOUTH STATE RD 135       GREENWOOD             IN                      46143          4/9/2021 $             185,000.00
   3647277304       4/29/2020 PPP                 EDGEBROOK CLUB INC                       13454 SE NEWPORT WAY          BELLEVUE              WA                      98006         2/23/2021 $             150,400.00
   9950077009        4/9/2020 PPP                 ELLINGTON RIDGE COUNTRY CLUB INC         56 ABBOTT RD                  ELLINGTON             CT              06029                  4/8/2021 $             254,100.00
   2722647108       4/11/2020 PPP                 ELMHURST COUNTRY CLUB                    319 GARDNER RD                MOSCOW                PA                      18444         1/21/2021 $             237,354.00
   5518317208       4/27/2020 PPP                 FAMILY MOTOR COACHING INC                8291 CLOUGH PIKE              CINCINNATI            OH                      45244        12/24/2020 $             545,623.32
   5118987102       4/13/2020 PPP                 FIG GARDEN SWIM RACQUET CLUB             4722 N MAROA AVE              FRESNO                CA                      93704        11/18/2021 $             163,088.00
   6120247303       4/30/2020 PPP                 FOREST HILLS COUNTRY CLUB                5135 FOREST HILLS RD          ROCKFORD              IL                      61114         6/17/2021 $             276,677.00
   2787017108       4/11/2020 PPP                 GIBSON ISLAND CORPORATION                534 BRDWATER WAY              GIBSON ISLAND         MD                      21056         2/16/2021 $             348,040.00
   1844107310       4/28/2020 PPP                 HARLINGEN COUNTRY CLUB INC               5500 EL CAMINO REAL           HARLINGEN             TX                      78552        11/13/2021 $             219,900.00
   1582807100       4/10/2020 PPP                 HARRISON LAKE DINING AND GOLF CLUB INC   588 S COUNTRY CLUB RD         COLUMBUS              IN                      47201          1/8/2021 $             275,400.00
   4010437704        5/1/2020 PPP                 LAKE CONNOR PARK INC                     14320 28TH ST NE              LAKE STEVENS          WA                      98258         9/21/2021 $             163,394.00
   2997917105       4/11/2020 PPP                 MAPLECREST COUNTRY CLUB OF GOSHEN INC    611 HACKETT RD                GOSHEN                IN                      46528         6/23/2021 $             163,000.00
   4197797107       4/13/2020 PPP                 MASHOMACK FISH GAME PRESERVE CLUB INC    7435 RT82                     PINE PLAINS           NY                      12567         7/20/2021 $             288,620.00
   8899407000        4/9/2020 PPP                 MIDDLEBURG TENNIS ASSN                   1777 ZULLA RD                 MIDDLEBURG            VA                      20117         8/11/2021 $             278,700.00
   6443727005        4/6/2020 PPP                 MINNESOTA VALLEY COUNTRY CLUB INC        6300 AUTO CLUB RD             BLOOMINGTON           MN                      55438          6/5/2021 $             608,000.00
   9301687004        4/9/2020 PPP                 NASHVILLE CITY CLUB                      201 4TH AVE 20TH FL           NASHVILLE             TN                      37219          8/7/2021 $             202,905.00
   2947907300       4/29/2020 PPP                 NEMACOLIN COUNTRY CLUB                   134 ROUTE 40 W                BEALLSVILLE           PA                      15313         10/7/2021 $             202,800.00
   1992787110       4/10/2020 PPP                 NEW CLUB INC                             100 COBBLE CREEK RD           VICTOR                NY                      14564         9/15/2021 $             288,100.00
   6383857006        4/6/2020 PPP                 OGDEN GOLF AND COUNTRY CLUB              4197 WASHINGTON BLVD          OGDEN                 UT                      84403         1/29/2021 $             370,783.90
   3703007201       4/27/2020 PPP                 OSWEGO LAKE COUNTRY CLUB                 20 IRON MOUNTAIN BLVD         LAKE OSWEGO           OR                      97034        11/20/2020 $             656,283.00
   3649337400        5/7/2020 PPP                 PEACH TREE GOLF COUNTRY CLUB             2043 SIMPSON DANTONI RD       MARYSVILLE            CA                      95901         4/15/2021 $             264,396.77
   7014267408       5/15/2020 PPP                 PORT SUSAN CAMPING CLUB                  12015 MARINE DR               TULALIP               WA                      98271         3/23/2022 $             722,415.00
   3968427204       4/27/2020 PPP                 PROSPECT PLANTATION WEST HOMEOWNERS ASSN INC
                                                                                           311 A PROSPECT BAY DR WEST    GRASONVILLE           MD                      21638         3/19/2021 $             350,300.00
   1846617205       4/15/2020 PPP                 RIVER HILLS CLUB OF JACKSON INC          3600 RIDGEWOOD RD             JACKSON               MS                      39211        11/20/2020 $             393,000.00
   2778527204       4/16/2020 PPP                 ROCKPORT COUNTRY CLUB MEMBERS ASSN       101 CHAMPIONS DR              ROCKPORT              TX                      78382        12/24/2020 $             282,200.00
   5711217106       4/13/2020 PPP                 ROSEBURG COUNTRY CLUB                    5051 GARDEN VALLEY RD         ROSEBURG              OR                      97471         2/24/2021 $             216,000.00
   2152457205       4/15/2020 PPP                 SANGAMO CLUB                             227 E ADAMS ST                SPRINGFIELD           IL                      62701          3/9/2021 $             151,200.00
   3015057103       4/11/2020 PPP                 SECESSION GOLF CLUB INC                  142 SECESSION DR              BEAUFORT              SC                      29907         3/12/2021 $             630,750.00
   1153467205       4/15/2020 PPP                 SIGNAL MOUNTAIN GOLF COUNTRY CLUB        809 JAMES BLVD                SIGNAL MOUNTAIN       TN                      37377         3/26/2022 $             242,755.00
   7848027304       4/30/2020 PPP                 SILENT VALLEY CLUB INC                   46305 POPPET FLATS RD         BANNING               CA                      92220         5/20/2021 $             282,470.00
   6427617007        4/6/2020 PPP                 SOUTHVIEW COUNTRY CLUB                   239 MENDOTA RD                SAINT PAUL            MN                      55118         12/8/2020 $             350,600.00
   2991137204       4/16/2020 PPP                 SPINDLETOP HALL INC                      3414 IRON WORKS PIKE          LEXINGTON             KY                      40511          3/4/2021 $             255,700.00
   2130217104       4/10/2020 PPP                 ST ANDREWS SOUTH GOLF CLUB INC           1901 DEBORAH DR               PUNTA GORDA           FL                      33950         1/21/2021 $             172,100.00
   5355657700        5/1/2020 PPP                 STRATHMOREVANDERBILT COUNTRY CLUB OF MA  260 COUNTRY CLUB DR           MANHASSET             NY                      11030          4/1/2020 $             385,348.00
   4429797009        4/3/2020 PPP                 THE BRIARWOOD                            3429 BRIARWOOD BLVD           BILLINGS              MT                      59101        12/15/2020 $             199,500.00
   2387737908       6/11/2020 PPP                 THE CLUB AT MORNINGSIDE INC              39033 MORNINGSIDE DR          RANCHO MIRAGE         CA                      92270         8/11/2021 $             727,427.00
   5591397206       4/27/2020 PPP                 THE CONNECTICUT GOLF CLUB INC            915 BLACK ROCK TPKE           EASTON                CT              06612                11/20/2020 $             357,000.00
   1200107206       4/15/2020 PPP                 THE COUNTRY CLUB OF TERRE HAUTE          57 ALLENDALE                  TERRE HAUTE           IN                      47802         3/12/2021 $             196,600.00
   2765887208       4/16/2020 PPP                 THE ELYRIA COUNTRY CLUB COMPANY          41625 OBERLIN ELYRIA RD       ELYRIA                OH                      44035        10/21/2021 $             297,330.00
   1447817100       4/10/2020 PPP                 THE FOREST CLUB                          9950 MEMORIAL DR              HOUSTON               TX                      77024         12/7/2021 $             579,300.00
   8866147009        4/9/2020 PPP                 THE OUTING CLUB                          2109 BRADY ST                 DAVENPORT             IA                      52803         5/12/2021 $             150,000.00
   5616317005        4/6/2020 PPP                 THE RACE BROOK COUNTRY CLUB INC          246 DERBY AVE                 ORANGE                CT              06477                 2/19/2021 $             385,700.00
   5641087010        4/6/2020 PPP                 TIPPECANOE LAKE COUNTRY CLUB INC         7245 N KALORAMA RD            LEESBURG              IN                      46538         2/16/2021 $             242,600.00
   1332147307       4/28/2020 PPP                 TWIN LAKES GOLF COUNTRY CLUB             3583 SW 320TH ST              FEDERAL WAY           WA                      98023          5/4/2021 $             204,000.00
   2433207109       4/10/2020 PPP                 UNION LEAGUE BOYS AND GIRLS CLUBS        65 W JACKSON BLVD             CHICAGO               IL                      60604         2/19/2021 $             617,500.00
   7639667301       4/30/2020 PPP                 VALLEY VIEW GOLF COURSE                  302 EAST KAGY BLVD            BOZEMAN               MT                      59715         7/13/2021 $             166,170.00
   8496417009        4/8/2020 PPP                 WILDWOOD COUNTRY CLUB INC                5000 BARDSTOWN RD             LOUISVILLE            KY                      40291          1/8/2021 $             313,300.00
   3429567408        5/7/2020 PPP                 WILLAMETTE VALLEY COUNTRY CLUB           900 COUNTRY CLUB PL           CANBY                 OR                      97013         1/22/2021 $             491,837.00
   8366317310        5/1/2020 PPP                 WOODHOLME COUNTRY CLUB INC               300 WOODHOLME AVE             PIKESVILLE            MD                      21208         2/17/2021 $             750,200.00
   1855267209       4/15/2020 PPP                 YOUNGSTOWN COUNTRY CLUB                  1402 COUNTRY CLUB DR          YOUNGSTOWN            OH                      44505         3/13/2021 $             231,100.00




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CurrentApprovalAmount   JobsReported NAICSCode    BusinessType                     OriginatingLender                            OriginatingLenderState   ForgivenessAmount      ForgivenessDate       EIN (Form 990 Data)
$            192,096.00             83     713910 Corporation                      Cross River Bank                             NJ                        $          193,090.69            11/12/2020          43308688
$            457,500.00             62     713910 Partnership                      Farmers & Merchants Bank of Long Beach       CA                        $          461,460.82              3/1/2021         956205394
$            206,500.00             35     713910 Non-Profit Organization          Truist Bank                                  NC                        $          209,109.93             7/28/2021         630512677
$            323,192.00             45     561790 Corporation                      Bank of America, National Association        NC                        $          325,520.75             1/25/2021         952899218
$            519,400.00             90     713910 Corporation                      Eclipse Bank, Inc.                           KY                        $          522,227.84             11/3/2020         610123310
$            290,100.00             38     813410 Professional Association         American Bank of Commerce                    TX                        $          292,134.67             1/13/2021         741093739
$            327,800.00             51     713910 Corporation                      First-Citizens Bank & Trust Company          NC                        $          331,131.88             5/17/2021         581533854
$            431,800.00            131     713910 Corporation                      BOKF, National Association                   OK                        $          435,362.35              3/8/2021         860507921
$            279,700.00             61     713910 Corporation                      United Community Bank                        GA                        $          281,174.89             2/12/2021         580644251
$            427,500.00             43     813410 Non-Profit Organization          Regions Bank                                 AL                        $          432,723.70             7/22/2021         626042699
$            150,000.00             20     713910 Non-Profit Organization          First Resource Bank                          PA                        $          150,800.00             11/3/2020         230479630
$            186,000.00             34     713910 Corporation                      First-Citizens Bank & Trust Company          NC                        $          188,293.15             7/29/2021         570279386
$            374,600.00             46     713930 Non-Profit Organization          U.S. Bank, National Association              OH                        $          376,566.65             12/8/2020         360935520
$            215,300.00             25     713910 Corporation                      First-Citizens Bank & Trust Company          NC                        $          216,729.35            12/16/2020         540181842
$            292,100.00             55     713910 Corporation                      Southside Bank                               TX                        $          294,258.29             1/13/2021         751545338
$            291,900.00             55     713910 Corporation                      Bank OZK                                     AR                        $          295,410.80             7/22/2021         822729915
$            259,713.05             32     813990 Corporation                      Meade County Bank                            KY                        $          261,119.83             11/3/2020         611120986
$            185,000.00             46     713910 Non-Profit Organization          Lake City Bank                               IN                        $          186,058.61              3/2/2021         454431923
$            150,400.00             15     713940 Corporation                      Umpqua Bank                                  OR                        $          151,438.38             1/12/2021         910717311
$            254,100.00             40     713910 Non-Profit Organization          Manufacturers and Traders Trust Company      CT                        $          256,355.57             3/18/2021          60731820
$            237,354.00             67     713910 Corporation                      Community Bank, National Association         NY                        $          238,953.70            12/28/2020         240571570
$            545,623.32             35     511199 Limited Liability Company(LLC)   U.S. Bank, National Association              OH                        $          548,639.40            11/20/2020         310804764
$            163,088.00             16     813410 Corporation                      FFB Bank                                     CA                        $          165,498.08            10/12/2021         946087660
$            276,677.00             62     713910 Corporation                      Midland States Bank                          IL                        $          279,595.37              6/1/2021         361089495
$            348,040.00             39     531190 Corporation                      WesBanco Bank, Inc.                          WV                        $          350,538.26             1/11/2021         520326700
$            219,900.00             42     713910 Corporation                      Lone Star National Bank                      TX                        $          223,051.90             10/6/2021         741150631
$            275,400.00             43     711211 Corporation                      First Financial Bank                         OH                        $          276,921.62             2/12/2021         202728394
$            163,394.00             11     713940 Non-Profit Organization          Wells Fargo Bank, National Association       SD                        $          165,421.88              8/3/2021         910936055
$            163,000.00             27     713910 Non-Profit Organization          First State Bank of Middlebury               IN                        $          164,860.92              6/3/2021         351053529
$            288,620.00             70     114210 Corporation                      KeyBank National Association                 OH                        $          292,067.63              7/8/2021         132622979
$            278,700.00             19     713910 Corporation                      Atlantic Union Bank                          VA                        $          282,230.20             7/15/2021         540717182
$            608,000.00             22     713910 Corporation                      North American Banking Company               MN                        $          614,329.86             5/21/2021         411557904
$            202,905.00             26     813410 Professional Association         CapStar Bank                                 TN                        $          205,525.86              8/2/2021         626014352
$            202,800.00             50     713910 Corporation                      PNC Bank, National Association               DE                        $          203,854.54             9/20/2021         250689210
$            288,100.00             35     713910 Corporation                      Five Star Bank                               NY                        $          291,893.32             8/10/2021         843346165
$            370,783.90             68     713910 Non-Profit Organization          Cache Valley Bank                            UT                        $          373,307.29            12/17/2020         870160190
$            656,283.00             97     713910 Non-Profit Organization          Umpqua Bank                                  WA                        $          622,744.88             11/5/2020         930244260
$            264,396.77             48     713910 Corporation                      Sierra Central CU                            CA                        $          266,523.05              3/8/2021         941428336
$            722,415.00             62     721211 Corporation                      Kabbage, Inc.                                GA                        $          732,350.68             10/6/2021         911089047
$            350,300.00            121     713910 Corporation                      Shore United Bank, National Association      MD                        $          353,188.78              3/1/2021         521186089
$            393,000.00            170     713910 Corporation                      BankPlus                                     MS                        $          395,139.67             11/3/2020         204532060
$            282,200.00             45     713910 Non-Profit Organization          Prosperity Bank                              TX                        $          283,727.03             2/12/2021         742320108
$            216,000.00             32     713910 Cooperative                      Umpqua Bank                                  OR                        $          217,532.71              1/7/2021         930344910
$            151,200.00             26     813410 Professional Association         Bank of Springfield                          IL                        $          152,166.70             2/12/2021         370499990
$            630,750.00             86     713910 Corporation                      Palmetto State Bank                          SC                        $          636,072.49             2/18/2021         260178692
$            242,755.00             17     713910 Corporation                      FirstBank                                    TN                        $          244,063.18             11/3/2020         620357050
$            282,470.00             39     721211 Corporation                      Bank of America, National Association        NC                        $          285,054.79             3/31/2021         237273075
$            348,200.00            104     713910 Corporation                      Platinum Bank                                MN                        $          350,164.51             2/16/2021         411509213
$            255,700.00             53     713990 Non-Profit Organization          Central Bank & Trust Co.                     KY                        $          257,788.22             2/16/2021         610669699
$            172,100.00             30     713910 Corporation                      Truist Bank                                  NC                        $          173,209.09            12/17/2020         592057048
$            385,348.00             15 nan        Non-Profit Organization          Bank of America, National Association        NC                        $          215,377.53             7/20/2021         111375892
$            199,500.00             65     713910 Non-Profit Organization          Glacier Bank                                 MT                        $          200,647.81             11/3/2020         810391801
$            727,427.00            130     713910 Limited Liability Company(LLC)   WebBank                                      UT                        $          735,145.81              7/6/2021         953751854
$            357,000.00             38     713910 Corporation                      Fairfield County Bank                        CT                        $          358,809.45             11/3/2020          60842905
$            196,600.00             45     713910 Corporation                      Old National Bank                            IN                        $          197,750.85             2/12/2021         350249920
$            382,695.00             31     713910 Corporation                      JPMorgan Chase Bank, National Association    IL                        $          388,091.42             9/20/2021         340203920
$            425,100.00             55     713910 Non-Profit Organization          Independent Bank                             TX                        $          414,290.93              8/3/2021         741044007
$            150,000.00             75     813410 Non-Profit Organization          Northwest Bank & Trust Company               IA                        $          151,545.21             4/29/2021         420453230
$            385,700.00             27     713910 Professional Association         Ion Bank                                     CT                        $          388,542.56              1/8/2021          60503510
$            242,600.00             18     713910 Non-Profit Organization          Lake City Bank                               IN                        $          244,385.81              1/6/2021         350711197
$            204,000.00             65     713910 Corporation                      Umpqua Bank                                  WA                        $          205,844.38             3/31/2021         910817896
$            617,500.00            124     624110 Non-Profit Organization          BMO Bank National Association                IL                        $          621,881.71             1/11/2021         361893300
$            166,170.00             60     713910 Corporation                      Wells Fargo Bank, National Association       SD                        $          167,972.83              6/8/2021         810285122
$            313,300.00             32     713910 Non-Profit Organization          First Financial Bank                         OH                        $          315,334.30            12/17/2020         610477854
$            491,837.00             35     713910 Non-Profit Organization          U.S. Bank, National Association              OH                        $          494,815.35            12/17/2020         930515597
$            695,000.00             86     713910 Corporation                      The Harbor Bank of Maryland                  MD                        $          699,710.56             1/20/2021         520535530
$            231,100.00             34     713910 Professional Association         PNC Bank, National Association               DE                        $          232,643.11             2/12/2021         340633730




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NAME (Form 990 Data) FullAddress (Form 990 Data)
ACOAXET CLUB INC 152 HOWLAND RD WESTPORT MA
ALTA VISTA GOLF ASSN 777 ALTA VISTA ST PLNTIA CA
ARROWHEAD GOLF COUNTRY
                     50 OCALA  CLUB
                                  DR MONTGOMERY
                                      INC              AL
ARROWHEAD LAKE ASSN  PO BOX 1119 LK ARROWHEAD CA
AUDUBON COUNTRY CLUB 3265 ROBIN RD LOUISVILLE KY
AUSTIN CLUB          110 E 9TH ST AUSTIN TX
BERKELEY HILLS COUNTRY
                     2300 POND
                            CLUB INC
                                   RD DULUTH GA
BRIARWOOD COUNTRY20800 CLUBNINC135TH AVE SUN CITY WEST AZ
CARTERSVILLE COUNTRY PO BOX
                          CLUB200247
                                 INC CARTERSVILLE GA
CHI OMEGA FRATERNITY 2000 NORTH PKWY MEMPHIS TN
COATESVILLE COUNTRY  143 CLUB
                          RESERVOIR RD COATESVILLE PA
COLUMBIA COUNTRY CLUB135 COLUMBIA CLUB DR W BLYTHEWOOD SC
COLUMBIA YACHT CLUB  111 N LAKE SHORE DR CHICAGO IL
COUNTRY CLUB OF PETERSBURG
                     PO BOX 1599   INC
                                     PETERSBURG VA
CROWN COLONY COUNTRY 900 CROWN
                            CLUB INCCOLONY DR LUFKIN TX
DIAMANTE MEMBERS CLUB2000 INC
                            COUNTRY CLUB DR HOT SPRINGS AR
DOE VALLEY ASSN INC147 DOE VALLEY PKWY WEST BRANDENBURG KY
DYES WALK MEMBERS2080 INC SOUTH STATE RD 135 GREENWOOD IN
EDGEBROOK CLUB INC13454 SE NEWPORT WAY BELLEVUE WA
ELLINGTON RIDGE COUNTRY
                     56 ABBOTTCLUBRDINC ELLINGTON CT
ELMHURST COUNTRY CLUB319 GARDNER RD ROARING BK TP PA
FAMILY MOTOR COACH8291 ASSN CLOUGH PIKE CINCINNATI OH
FIG GARDEN SWIM AND4722RACQUET
                            N MAROACLUB AVE FRESNO CA
FOREST HILLS COUNTRY 5135CLUB
                            FOREST HILLS RD ROCKFORD IL
GIBSON ISLAND CLUB INC
                     534 BRDWATER WAY GIBSON ISLAND MD
HARLINGEN COUNTRY 5500
                     CLUBEL CAMINO REAL HARLINGEN TX
HARRISON LAKE DINING 588AND
                          S COUNTRY
                              GOLF CLUB   CLUB
                                             INC RD COLUMBUS IN
LAKE CONNOR PARK INC PO BOX 158 LAKE STEVENS WA
MAPLECREST COUNTRY   611 CLUB
                          HACKETT
                               OF GOSHEN
                                      RD GOSHEN INC IN
MASHOMACK FISH GAME  POPRESERVE
                          BOX 308 PINE CLUBPLAINS
                                               INC NY
MIDDLEBURG TENNIS ASSN
                     PO BOX 433 MIDDLEBURG VA
MINNESOTA VALLEY COUNTRY
                     6300 AUTO  CLUB
                                   CLUBINCRD BLOOMINGTON MN
NASHVILLE CITY CLUB 200 2ND AVE SOUTH NASHVILLE TN
NEMACOLIN COUNTRY 3100
                     CLUBRT 40 WEST BEALLSVILLE PA
NEW CLUB INC         100 COBBLECREEK RD VICTOR NY
OGDEN GOLF COUNTRY   4197
                        CLUBWASHINGTON BLVD OGDEN UT
OSWEGO LAKE COUNTRY  20 IRON
                          CLUBMOUNTAIN BLVD LAKE OSWEGO OR
PEACH TREE GOLF AND  2043
                        COUNTRY
                            SIMPSON CLUBDANTONI RD MARYSVILLE CA
PORT SUSAN CAMPING12015CLUBMARINE DR TULALIP WA
PROSPECT PLANTATION  301 WEST
                          PROSPECT
                                HOMEOWNERS
                                         BAY DR WEST
                                                   ASSN GRASONVILLE
                                                        INC         MD
RIVER HILLS CLUB OF JACKSON
                     3600 RIDGEWOOD
                                 INC        RD JACKSON MS
ROCKPORT COUNTRY CLUBPO BOX  MEMBERS
                               1539 ROCKPORT
                                          ASSN      TX
ROSEBURG COUNTRY 5051CLUBGARDEN VALLEY RD ROSEBURG OR
SANGAMO CLUB         PO BOX 438 DECATUR IL
SECESSION GOLF CLUB  142INC
                          SECESSION DR BEAUFORT SC
SIGNAL MOUNTAIN GOLF 809COUNTRY
                          JAMES BLVD CLUB  SIGNAL MTN TN
SILENT VALLEY CLUB INC
                     46305 POPPET FLATS RD BANNING CA
SOUTHVIEW COUNTRY239  CLUBMENDOTA RD E W ST PAUL MN
SPINDLETOP HALL INC3414 IRON WORKS PIKE LEXINGTON KY
SAINT ANDREWS SOUTH  1901GOLF
                            DEBORAH
                                CLUB INC DR PUNTA GORDA FL
STRATHMOREVANDERBILT 260 COUNTRY
                           COUNTRYCLUB  CLUBDR   OFMANHASSET
                                                   MANHASSETNY
                                                             INC
THE BRIARWOOD        3429 BRIARWOOD BLVD BILLINGS MT
CLUB AT MORNINGSIDE39033
                       INC MORNINGSIDE DR RANCHO MIRAGE CA
CONNECTICUT GOLF CLUB915 BLACK
                           INC     ROCK TPKE EASTON CT
COUNTRY CLUB OF TERRE57 ALLENDALE
                           HAUTE        TERRE HAUTE IN
ELYRIA COUNTRY CLUB  41625 OBERLIN ELYRIA RD ELYRIA OH
FOREST CLUB          9950 MEMORIAL DR HOUSTON TX
OUTING CLUB          2109 BRADY ST DAVENPORT IA
RACE BROOK COUNTRY   246CLUB
                          DERBY AVE ORANGE CT
TIPPECANOE LAKE COUNTRY
                     7245 N KALORAMA
                              CLUB           RD LEESBURG IN
TWIN LAKES GOLF AND3583COUNTRY
                            SW 320TH
                                   CLUB  ST FEDERAL WAY WA
UNION LEAGUE CLUB OF 65 CHICAGO
                         W JACKSON BLVD CHICAGO IL
VALLEY VIEW GOLF CLUB302 EAST KAGY BLVD BOZEMAN MT
WILDWOOD COUNTRY PO  CLUB BOXINC
                               91208 LOUISVILLE KY
WILLAMETTE VALLEY COUNTRY
                     PO BOX 988  CLUB
                                    CANBY OR
WOODHOLME COUNTRY    300 CLUB
                          WOODHOLME
                               INC          AVE PIKESVILLE MD
YOUNGSTOWN COUNTRY   1402 CLUB
                            COUNTRY CLUB DR YOUNGSTOWN OH




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